   Case
Name      2:85-cv-04544-DMG-AGR
     and address:                                  Document 946 Filed 08/28/20 Page 1 of 6 Page ID #:40676
                   Chanakya A. Sethi
                  Wilkinson Walsh LLP
                   130 W 42nd Street
                       24th Floor
                  New York, NY 10036

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
Jenny L. Flores, et al.
                                                         Plaintiff(s),                         CV 85-4544-DMC (AGRx)

                 v.
                                                                              APPLICATION OF NON-RESIDENT ATTORNEY
William P. Barr, et. al.                                                            TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Sethi, Chanakya A.
Applicant's Name (Last Name, First Name & Middle Initial)                                          check here if federal government attorney
Wilkinson Walsh LLP
Firm/Agency Name
130 W 42nd Street                                                        (929) 264-7758                        (202) 847-4005
 24th Floor                                                              Telephone Number                      Fax Number
Street Address
New York, NY 10036                                                                          csethi@wilkinsonwalsh.com
City, State, Zip Code                                                                               E-mail Address

I have been retained to represent the following parties:
Amnesty International USA                                                   Plaintiff(s)    Defendant(s)   ✖   Other: Amicus
Human Rights Watch                                                          Plaintiff(s)    Defendant(s)   ✖   Other: Amicus
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
District - Illinois Northern                                2/23/2016               Yes
Circuit - 11th                                              6/19/2018               Yes
Circuit - 9th                                                1/3/2016               Yes

G-64 (02/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 1 of 3
      Case 2:85-cv-04544-DMG-AGR Document 946 Filed 08/28/20 Page 2 of 6 Page ID #:40677
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title of Action                             Date of Application      Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 8/28/2020                                        Chanakya A. Sethi
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's Signature


G-64 (02/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of 3
      Case 2:85-cv-04544-DMG-AGR Document 946 Filed 08/28/20 Page 3 of 6 Page ID #:40678
SECTION III - DESIGNATION OF LOCAL COUNSEL
Hari, Rahul
Designee's Name (Last Name, First Name & Middle Initial)
Wilkinson Walsh LLP
Firm/Agency Name
11601 Wilshire Blvd                                               (424) 291-9664                           (202) 847-4005
Suite 600                                                         Telephone Number                         Fax Number
Street Address                                                    rhari@wilkinsonwalsh.com
Los Angeles, CA 90025                                             Email Address
City, State, Zip Code                                             313528
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated 8/28/2020                                    Rahul Hari
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  COURT - DATE OF ADMISSION - ACTIVE IN GOOD STANDING?
  United States Supreme Court (8/7/2017) Yes
  District - New York Eastern (3/25/2016) Yes
  District - New York Southern (11/4/2014) Yes
  District - Massachusetts (2/11/2020) Yes
  Circuit - 1st (1/30/2020) Yes
  Circuit - District of Columbia (6/1/2020) Yes
  State - New York (1/24/2013) Yes




G-64 (02/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of 3
Case 2:85-cv-04544-DMG-AGR Document 946 Filed 08/28/20 Page 4 of 6 Page ID #:40679




       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                        the District of Columbia Bar does hereby certify that



                        Chanakya Arjun Sethi
              was duly qualified and admitted on April 24, 2019 as an attorney and counselor entitled to
                         practice before this Court; and is, on the date indicated below, a(n)
                                   ACTIVE member in good standing of this Bar.




                                                                                 In Testimony Whereof,
                                                                             I have hereunto subscribed my
                                                                             name and affixed the seal of this
                                                                                  Court at the City of
                                                                              Washington, D.C., on August
                                                                                        20, 2020.




                                                                                   JULIO A. CASTILLO
                                                                                     Clerk of the Court




                                                                         Issued By:
                                                                                  District of Columbia Bar Membership




     For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                         memberservices@dcbar.org.
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      1 WILKINSON WALSH LLP
        Chanakya A. Sethi (pro hac vice pending)
      2 csethi@wilkinsonwalsh.com
        130 W. 42nd Street, 24th Floor
      3 New York, NY 10036
        Telephone: (929) 264-7765
      4 Facsimile: (202) 847-4005

      5
          Attorney for Amnesty International USA
      6   and Human Rights Watch
      7

      8
                             UNITED STATES DISTRICT COURT
      9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
     10

     11

     12   JENNY L. FLORES, et al.,                     Case No. CV-85-4544 DMG (AGRx)
     13                                  Plaintiffs,   DECLARATION OF
                                                       CHANAKYA A. SETHI
     14         v.
     15   WILLIAM P. BARR,
          Attorney General, et al.,
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                                       Defendants.
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                                      DECLARATION OF CHANAKYA A. SETHI
                                        CASE NO. CV-85-4544 DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 946 Filed 08/28/20 Page 6 of 6 Page ID #:40681


      1         I, Chanakya A. Sethi, declare and state as follows:
      2         1.       I have been an active member of the State Bar of New York (Third
      3   Department) since January 2013.
      4         2.       I submitted a request for a Certificate of Good Standing from the Third
      5   Department on August 20, 2020.
      6         3.       As a result of the COVID-19 public health emergency, I have been un-
      7   able to receive in a timely manner the requested Certificate of Good Standing.
      8         4.       I plan to supplement my Pro Hac Vice application once said certificate
      9   is received.
     10         5.       As of the date hereof, I remain a member in good standing of the State
     11   Bar of New York.
     12         I declare under penalty of perjury that the foregoing is true and correct to the
     13   best of my knowledge, information, and belief.
     14         Executed this 28th day of August, 2020 in Brooklyn, N.Y.
     15
                                                  /s/ Chanakya A. Sethi
     16                                           Chanakya A. Sethi
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                                     DECLARATION OF CHANAKYA A. SETHI
                                       CASE NO. CV-85-4544 DMG (AGRX)
